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                 UNITED STATES DISTRICT COURT
                 NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

THE NEW GEORGIA PROJECT;
BLACK VOTERS MATTER FUND;
and RISE, INC.,

                  Plaintiffs,             No. 1:21-cv-1229-JPB

      v.

BRAD RAFFENSPERGER, in his of-
ficial capacity as the Georgia Secre-
tary of State; REBECCA SULLIVAN,
in her official capacity as the Vice
Chair of the Georgia State Election
Board; DAVID WORLEY, in his offi-
cial capacity as a member of the
Georgia State Election Board; MAT-
THEW MASHBURN, in his official
capacity as a member of the Georgia
State Election Board; and ANH LE,
in her official capacity as a member of
the Georgia State Election Board,

                  Defendants,

REPUBLICAN NATIONAL COM-
MITTEE; NATIONAL REPUBLICAN
SENATORIAL COMMITTEE; and
GEORGIA REPUBLICAN PARTY,
INC.,

Proposed Intervenor-Defendants.

    PROPOSED INTERVENOR-DEFENDANTS’ MEMORANDUM
    OF LAW IN SUPPORT OF THEIR MOTION TO INTERVENE



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      This Court should grant the motion to intervene and allow Movants—

the Republican National Committee, National Republican Senatorial Commit-

tee, and Georgia Republican Party, Inc.,—to be defendants in this case. As the

Democratic Party recently observed, “political parties usually have good cause

to intervene in disputes over election rules.” Issa v. Newsom, Doc. 23 at 2, No.

2:20-cv-1044 (E.D. Cal. June 8, 2020). That is why, in recent litigation over the

election rules for 2020 and 2021, the Democratic and Republican parties were

virtually always granted intervention.* Just a few months ago, Judge Jones let

      * See, e.g., Alliance for Retired American’s v. Dunlap, No. CV-20-95 (Me.
Super. Ct. Aug. 21, 2020) (granting intervention to the RNC, NRSC, and Re-
publican Party of Maine); Mi Familia Vota v. Hobbs, Doc. 25, No. 2:20-cv-1903
(D. Ariz. June 26, 2020) (granting intervention to the RNC and NRSC); Ariz.
Democratic Party v. Hobbs, Doc. 60, No. 2:20-cv-1143-DLR (D. Ariz. June 26,
2020) (granting intervention to the RNC and Arizona Republican Party); Swen-
son v. Bostelmann, Doc. 38, No. 20-cv-459-wmc (W.D. Wis. June 23, 2020)
(granting intervention to the RNC and Republican Party of Wisconsin); Ed-
wards v. Vos, Doc. 27, No. 20-cv-340-wmc (W.D. Wis. June 23, 2020) (same);
League of Women Voters of Minn. Ed. Fund v. Simon, Doc. 52, No. 20-cv-1205
ECT/TNL (D. Minn. June 23, 2020) (granting intervention to the RNC and Re-
publican Party of Minnesota); Issa v. Newsom, 2020 WL 3074351, at *4 (E.D.
Cal. June 10, 2020) (granting intervention to the DCCC and Democratic Party
of California); Nielsen v. DeSantis, Doc. 101, No. 4:20-cv-236-RH (N.D. Fla.
May 28, 2020) (granting intervention to the RNC, NRCC, and Republican
Party of Florida); Priorities USA v. Nessel, 2020 WL 2615504, at *5 (E.D. Mich.
May 22, 2020) (granting intervention to the RNC and Republican Party of
Michigan); Thomas v. Andino, 2020 WL 2306615, at *4 (D.S.C. May 8, 2020)
(granting intervention to the South Carolina Republican Party); Corona v.
Cegavske, Order Granting Mot. to Intervene, No. CV 20-OC-644-1B (Nev. 1st
Jud. Dist. Ct. Apr. 30, 2020) (granting intervention to the RNC and Nevada
Republican Party); League of Women Voters of Va. v. Va. State Bd. of Elections,
Doc. 57, No. 6:20-cv-24-NKM (W.D. Va. Apr. 29, 2020) (granting intervention



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the Republican Party intervene in another case brought by one of Plaintiffs.

See Black Voters Matter Fund v. Raffensperger, Doc. 42, No. 1:20-cv-4869 (N.D.

Ga. Dec. 9, 2020). This Court should do the same for two independent reasons.

      First, Movants satisfy the criteria for intervention as of right under Rule

24(a)(2). Their motion is timely; Plaintiffs’ complaint was filed last week, this

litigation has yet to begin in earnest, and no party will possibly be prejudiced.

Movants also have a clear interest in protecting their candidates, voters, and

resources from Plaintiffs’ attempt to invalidate Georgia’s duly-enacted election

rules. Finally, no other party adequately represents Movants’ interests. De-

fendants do not share Movants’ distinct interests in conserving their resources

and helping Republican candidates and voters.

      Second, and alternatively, the Court should grant Movants permissive

intervention under Rule 24(b). Again, this motion is timely. Movants’ defenses

share common questions of law and fact with the existing parties, and inter-

vention will result in no delay or prejudice. The Court’s resolution of the im-

portant questions in this case will have significant implications for Movants as

they work to ensure that candidates and voters can participate in fair and or-

derly elections.

to the Republican Party of Virginia); Paher v. Cegavske, 2020 WL 2042365, at
*2 (D. Nev. Apr. 28, 2020) (granting intervention to four Democratic Party en-
tities); Democratic Nat’l Comm. v. Bostelmann, 2020 WL 1505640, at *5 (W.D.
Wis. Mar. 28, 2020) (granting intervention to the RNC and Republican Party
of Wisconsin); Gear v. Knudson, Doc. 58, No. 3:20-cv-278 (W.D. Wis. Mar. 31,
2020) (same); Lewis v. Knudson, Doc. 63, No. 3:20-cv-284 (W.D. Wis. Mar. 31,
2020) (same); see also Democratic Exec. Cmte. Of Fla. V. Detzner, No. 4:18-cv-
520-MW-MJF (N.D. Fla. Nov. 9, 2018) (granting intervention to the NRSC).

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      Whether under Rule 24(a)(2) or (b), Movants should be allowed to inter-

vene as defendants. Plaintiffs object to this motion. Defendants have not yet

entered an appearance or given their position on Movants’ intervention.

              INTERESTS OF PROPOSED INTERVENORS

      Movants are three political committees who support Republicans in

Georgia. The Republican National Committee is a national committee, as de-

fined by 52 U.S.C. §30101, that manages the Republican Party’s business at

the national level, supports Republican candidates for public office at all levels,

coordinates fundraising and election strategy, and develops and promotes the

national Republican platform. The National Republican Senatorial Committee

is a national political committee that works to elect Republicans to the U.S.

Senate. The Georgia Republican Party, Inc., is a political party that works to

promote Republican values and to assist Republican candidates in obtaining

election to partisan federal, state, and local office. All three Movants have in-

terests—their own and those of their members—in the rules and procedures

governing Georgia’s elections. That includes Georgia’s crucial elections in 2022

for U.S. Senate, Governor, U.S. House, and other offices.

                                 ARGUMENT

I.    Movants are entitled to intervene as of right.

      Rule 24 is “liberally construed with all doubts resolved in favor of the

proposed intervenor.” S.D. ex rel. Barnett v. U.S. Dep’t of Interior, 317 F.3d 783,

785 (8th Cir. 2003). Under Rule 24(a)(2), this Court must grant intervention

as of right if four things are true: the motion is timely; movants have a legally



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protected interest in this action; this action may impair or impede that inter-

est; and no existing party adequately represents Movants’ interests. See Chiles

v. Thornburgh, 865 F.2d 1197, 1213 (11th Cir. 1989). All four things are true

here.

        A.    The motion is timely.

        This Court considers four factors in determining the timeliness of a mo-

tion to intervene: the delay after the movant knew its interest in the case; any

prejudice to the existing parties from that delay; prejudice to the movant from

denying intervention; and any unusual circumstances. Id. These factors all fa-

vor Movants.

        Movants filed this motion early—a mere four business “days after Plain-

tiffs filed the lawsuit” and the challenged legislation was passed. Black Voters

Matter, Doc. 42 at 6, No. 1:20-cv-4869 (N.D. Ga.). Movants hardly could have

moved faster than they did. Much later intervention motions have been de-

clared timely. See e.g., North Dakota v. Heydinger, 288 F.R.D. 423, 429 (D.

Minn. 2012) (motion filed one year after answer); Idaho Farm Bureau Fed’n v.

Babbitt, 58 F.3d 1392, 1397 (9th Cir. 1995) (motion filed four months after

complaint); Uesugi Farms, Inc. v. Michael J. Navilio & Son, Inc., 2015 WL

3962007, at *2 (N.D. Ill. June 25, 2015) (motions filed 4-6 weeks after com-

plaint).

        Nor will Movants’ intervention prejudice the parties. This litigation has

not yet begun in earnest. Movants will comply with all deadlines that govern

the parties, will work to prevent duplicative briefing, and will coordinate with



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the parties on discovery. If Movants are not allowed to intervene, however,

their interests could be irreparably harmed by an order overriding Georgia’s

election rules and undermining the integrity of Georgia’s elections. Their mo-

tion is timely.

      B.     Movants have protected interests in this action.

      Movants also have “‘direct, substantial, legally protectible interest[s] in

the proceeding’” because they are Republican Party organizations that repre-

sent candidates and voters. Chiles, 865 F.2d at 1213-14. Movants have direct

and significant interests in ensuring that the State’s election procedures are

fair and reliable. Laws like the one challenged here are designed to serve “the

integrity of [the] election process,” Eu v. San Fran. Cty. Democratic Cent.

Comm., 489 U.S. 214, 231 (1989), and the “orderly administration” of elections,

Crawford v. Marion Cty. Election Bd., 553 U.S. 181, 196 (2008) (op. of Stevens,

J.). As Judge Jones found, Movants have “a specific interest” in “promoting

their chosen candidates and protecting the integrity of Georgia’s elections.”

Black Voters Matter, Doc. 42 at 5, No. 1:20-cv-4869 (N.D. Ga.). Indeed, federal

courts “routinely” find that political parties have interests supporting inter-

vention in litigation regarding election rules. Issa, 2020 WL 3074351, at *3;

see, e.g., Siegel v. LePore, 234 F.3d 1163, 1169 n.1 (11th Cir. 2001); supra n.*.

Given their inherent and intense interest in elections, usually “[n]o one dis-

putes” that political parties “meet the impaired interest requirement for inter-

vention as of right.” Citizens United v. Gessler, 2014 WL 4549001, *2 (D. Col.

Sept. 15, 2014). That is certainly true where, as here, “changes in voting



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procedures could affect candidates running as Republicans and voters who

[are] members of the … Republican Party.” Ohio Democratic Party v. Black-

well, 2005 WL 8162665, *2 (S.D. Ohio Aug. 26, 2005); see id. (under such cir-

cumstances, “there [was] no dispute that the Ohio Republican Party had an

interest in the subject matter of this case”).

      In short, because Movants’ candidates will “actively seek [election or]

reelection in contests governed by the challenged rules,” and Movants’ voters

will vote in them, Movants have an interest in “demand[ing] adherence” to

Georgia’s rules. Shays v. FEC, 414 F.3d 76, 88 (D.C. Cir. 2005).

      C.      This action threatens to impair Movants’ interests.

      Movants are “so situated that disposing of [this] action may as a practical

matter impair or impede [their] ability to protect [their] interest.” Fed. R. Civ.

P. 24(a)(2). Movants “do not need to establish that their interests will be im-

paired,” “only that the disposition of the action ‘may’ impair or impede their

ability to protect their interests.” Brumfield v. Dodd, 749 F.3d 339, 344 (5th

Cir. 2014). This language from Rule 24 is “obviously designed to liberalize the

right to intervene in federal actions.” Nuesse v. Camp, 385 F.2d 694, 701 (D.C.

Cir. 1967).

      Here, Movants’ interests will plainly “suffer if the Government were to

lose this case, or to settle it against [Movants’] interests.” Mausolf v. Babbitt,

85 F.3d 1295, 1302-03 (8th Cir. 1996). Not only would an adverse decision un-

dercut democratically enacted laws that protect voters and candidates (includ-

ing Movants’ members), it would change the “structur[e] of th[e] competitive



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environment” and “fundamentally alter the environment in which [Movants]

defend their concrete interests (e.g. their interest in … winning [election or]

reelection).” Shays, 414 F.3d at 85-86. These changes, especially if they occur

near an election, also threaten to confuse voters and undermine confidence in

the electoral process. See Purcell v. Gonzalez, 549 U.S. 1, 4-5 (2006). Movants

will be forced to spend substantial resources fighting inevitable confusion and

galvanizing participation in the wake of the “consequent incentive to remain

away from the polls.” Id.; accord Pavek v. Simon, 2020 WL 3183249, at *10 (D.

Minn. June 15, 2020).

      The “very purpose of intervention is to allow interested parties to air

their views so that a court may consider them before making potentially ad-

verse decisions.” Brumfield, 749 F.3d at 345. So the “best” course—and the one

that Rule 24 “implements”—is to give “all parties with a real stake in a contro-

versy … an opportunity to be heard” in this suit, Hodgson v. United Mine Work-

ers of Am., 473 F.2d 118, 130 (D.C. Cir. 1972). That includes Movants.

      D.    The existing parties do not adequately represent Movants’

            interests.

      Finally, Movants are not adequately represented by the existing parties.

Inadequacy is not a demanding showing. It’s satisfied “if the proposed interve-

nor shows that representation of his interest may be inadequate.” Chiles, 865

F.2d at 1214 (cleaned up; emphasis added). In other words, “‘the burden of

making that showing should be treated as minimal,’” and the proposed




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intervenors “‘should be allowed to intervene unless it is clear that [the current

parties] will provide adequate representation.’” Id.

      As then-Judge Garland has explained, courts “often conclude[] that gov-

ernmental entities do not adequately represent the interests of aspiring inter-

venors.” Fund for Animals, Inc. v. Norton, 322 F.3d 728, 736 (D.C. Cir. 2003).

“[T]he government’s representation of the public interest generally cannot be

assumed to be identical to the individual parochial interest of a [private mo-

vant] merely because both entities occupy the same posture in the litigation.”

Utah Ass’n of Counties v. Clinton, 255 F.3d 1246, 1255-56 (10th Cir. 2001).

Here, too, Defendants necessarily represent “the public interest,” rather than

Movants’ “particular interest[s]” in protecting their resources and the rights of

their candidates and voters. Coal. of Ariz./N.M. Counties for Stable Economic

Growth v. DOI, 100 F.3d 837, 845 (10th Cir. 1996). While all political parties

want what’s best for the country, the reality is that they have very different

ideas of what that looks like and how best to accomplish it.

      This tension is stark in the context of elections. Defendants have no in-

terest in the election of particular candidates or the mobilization of particular

voters, or the costs associated with either. Instead, state officials, acting on

behalf of all Georgia citizens and the State itself, must consider “a range of

interests likely to diverge from those of the intervenors.” Meek v. Metro. Dade

Cty., 985 F.2d 1471, 1478 (11th Cir. 1993). Those interests include “the expense

of defending the current [laws] out of [state] coffers,” Clark v. Putnam Cty., 168

F.3d 458, 461 (11th Cir. 1999); “the social and political divisiveness of the



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election issue,” Meek, 985 F.2d at 1478; “their own desires to remain politically

popular and effective leaders,” id.; and even the interests of Plaintiffs, In re

Sierra Club, 945 F.2d 776, 779-80 (4th Cir. 1991).

      At the very least, Movants will “serve as a vigorous and helpful supple-

ment” to Defendants and “can reasonably be expected to contribute to the in-

formed resolutions of these questions.” NRDC v. Costle, 561 F.2d 904, 912-13

(D.C. Cir. 1977). Movants affirmatively seek to preserve Georgia’s voting safe-

guards, including the bill challenged here, and bring a wealth of knowledge

and experience to the table. In fact, the complaint includes several allegations

about Movants specifically. E.g., Compl. ¶¶34-35, 67. Movants thus should be

granted intervention under Rule 24(a)(2).

II.   Alternatively, Movants are entitled to permissive intervention.

      Even if Movants were not entitled to intervene as of right under Rule

24(a), this Court should grant them permissive intervention under Rule 24(b).

Exercising broad judicial discretion, courts grant permissive intervention

when the movant has “a claim or defense that shares with the main action a

common question of law or fact.” Fed. R. Civ. P. 24(b); see Chiles, 865 F.2d at

1213. Courts also consider “whether the intervention will unduly delay or prej-

udice the adjudication of the original parties’ rights.” Fed. R. Civ. P. 24(b)(3);

see Chiles, 865 F.2d at 1213. Inadequate representation is not a requirement.

See Black Voters Matter, Doc. 42 at 5, No. 1:20-cv-4869 (N.D. Ga.).

      The requirements of Rule 24(b) are met here. As explained, Movants filed

a timely motion. Supra I.A. And Movants will raise defenses that share many



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common questions with the parties’ claims and defenses. Plaintiffs allege that

the challenged law is unconstitutional. Movants directly reject that allegation

and assert that Plaintiffs’ desired relief would undermine the interests of Mo-

vants and their members. This obvious clash is why courts allow political par-

ties to intervene in defense of state election laws. See, e.g., Swenson, Doc. 38,

No. 20-cv-459-wmc (W.D. Wis.) (“[T]he [RNC and Republican Party of Wiscon-

sin] have a defense that shares common questions of law and fact with the

main action; namely, they seek to defend the challenged election laws to pro-

tect their and their members’ stated interests—among other things, interest in

the integrity of Wisconsin’s elections.”); Priorities USA, 2020 WL 2615504, at

*5 (recognizing that the permissive-intervention factors were met when the

RNC “demonstrate[d] that they seek to defend the constitutionality of Michi-

gan’s [election] laws, the same laws which the plaintiffs allege are unconstitu-

tional”).

      Movants’ intervention will not unduly delay this litigation or prejudice

anyone. Movants swiftly moved to intervene at this case’s earliest stage, and

their participation will add no delay beyond the norm for multiparty litigation.

Plaintiffs put the legality of Georgia’s law at issue, after all, and they “can

hardly be said to be prejudiced by having to prove a lawsuit [they] chose to

initiate.” Security Ins. Co. of Hartford v. Schipporeit, Inc., 69 F.3d 1377, 1381

(7th Cir. 1995). Movants also commit to submitting all filings in accordance

with whatever briefing schedule the Court imposes, “which is a promise” that




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undermines claims of undue delay. Emerson Hall Assocs., LP v. Travelers Cas-

ualty Ins. Co. of Am., 2016 WL 223794, *2 (W.D. Wis. Jan. 19, 2016).

      Allowing Movants to intervene will promote consistency and fairness in

the law, as well as efficiency in this case. It will allow “the Court … to profit

from a diversity of viewpoints as [Movants] illuminate the ultimate questions

posed by the parties.” Franconia Minerals (US) LLC v. United States, 319

F.R.D. 261, 268 (D. Minn. 2017). Any prejudice from granting intervention

would be no greater than the prejudice from denying intervention. See

Stringfellow v. Concerned Neighbors in Action, 480 U.S. 370, 377 (1987)

(“[W]hen an order prevents a putative intervenor from becoming a party in any

respect, the order is subject to immediate review.”); Jacobson v. Detzner, 2018

WL 10509488 (N.D. Fla. July 1, 2018) (“[D]enying [Republican Party organiza-

tions’] motion [to intervene] opens the door to delaying the adjudication of this

case’s merits for months—if not longer”). Where a court has doubts, “the most

prudent and efficient course” is to allow permissive intervention. Lac Courte

Oreilles Band of Lake Superior Chippewa Indians of Wis. v. United States, 2002

WL 32350046, *3 (W.D. Wis. Nov. 20, 2002).

                                CONCLUSION

      Movants humbly request that Court grant Movants’ motion and allow

them to intervene as defendants.




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           This 31st day of March, 2021.


                                   Respectfully submitted,

                                   /s/ William Bradley Carver, Sr.
                                  John E. Hall, Jr.
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           CERTIFICATE OF SERVICE AND CERTIFICATE
             OF COMPLIANCE WITH LOCAL RULE 5.1


      The foregoing was prepared in Century Schoolbook font, 13-point type,

one of the font and point selections approved by the Court in N.D. Ga. L.R.

5.1(C). I hereby certify that I electronically filed the foregoing PROPOSED

INTERVENOR-DEFENDANTS’ MEMORANDUM OF LAW IN SUP-

PORT OF THEIR MOTION TO INTERVENE with the Clerk of Court using

CM/ECF electronic filing system, which will automatically send e-mail notifi-

cation of such filing to the following counsel of record and serve as follows:


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                                                           coming




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     This 31st day of March, 2021.


                                   /s/ William Bradley Carver, Sr.
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